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                            UNITED STATES DISTRICT COURT

                             DISTRICT OF MASSACHUSETTS


In re GE ERISA LITIGATION                )   Master File No. 1:17-cv-12123-IT
                                         )
                                         )   CLASS ACTION
This Document Relates To:                )
                                         )
        ALL ACTIONS.                     )
                                         )


                        JOINT STATEMENT CONCERNING
                       DISCOVERY AND MOTION PRACTICE




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        The parties/counsel identified below participated in the meeting required by Fed. R. Civ.
P. 26(f) and the Local Rules, on June 25, 2019, have since continued to meet and confer, and have
prepared the following schedule concerning discovery and motion practice.

       The parties recommend that the Court establish the following motion and fact discovery
deadlines and limitations:

I.        CLASS CERTIFICATION MOTION

          1.        Plaintiff(s) shall file their Motion for Class Certification on or before December 16,

2019.

          2.        The parties are negotiating a stipulation relating to class certification, appointment

of class representatives, and appointment of class counsel that would result in Plaintiffs’ motion

being unopposed by Defendants. In the event that no agreement is reached, the following schedule

governs Plaintiffs’ motion for class certification.

          3.        Defendant(s) shall file papers in Opposition on or before February 14, 2020.

          4.        Plaintiffs’ Reply shall be filed on or before March 30, 2020. Plaintiffs will have

the same number of pages for their Reply as defendants will have for their Opposition.

          5.        If Plaintiffs’ Reply includes any additional report, declaration, or other material

from an expert witness in addition to material previously submitted along with Plaintiffs’ Motion

for Class Certification, Defendants are permitted to file a surreply on or before April 30, 2020 to

respond to any new material in the reply other than rebuttal by plaintiffs of defendants’ position,

or evidence. Defendants shall notify Plaintiffs and the Court of their intent to do so within one

week of the filing of Plaintiffs’ reply. Plaintiffs reserve all rights to challenge the propriety of

filing a surreply.

II.       DISCOVERY

          A.        Fact Discovery

                    1.        Document production from Defendants in response to Plaintiffs’ First
                              Request for Production of Documents to All Defendants (“Plaintiffs’ First
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                     Request”), consistent with Defendants’ responses and objections thereto,
                     will proceed on a tiered basis. If, after conducting a diligent search,
                     Defendants inadvertently do not produce a document or documents by the
                     dates provided below, Defendants will produce the document(s) promptly
                     upon learning of the inadvertent failure to produce the document(s).
                     Plaintiffs agree that any such inadvertent production of document(s) after
                     the corresponding dates specified below will not be grounds for any
                     sanction.

                     a.     The first tier documents, which were produced by August 16, 2019,
                            include (i) the minutes of the meetings of the Benefits Plan
                            Investment Committee (“BPIC”) and the GEAM Committee
                            (collectively, the “Committees”) as well as (ii) any materials
                            provided to all of the members of the Committee in connection with
                            such meeting; these minutes and materials regarding the BPIC and
                            the GEAM Committee shall be limited to matters relating to the Plan
                            and include, without limitation, any reports by the Plan’s service
                            providers, matters relating to Plan expenses, selection of investment
                            options, and the Committees’ fiduciary responsibilities, and the
                            administration or operation of the Plan’s investment options, but not
                            matters relating to the Plan’s administration and operations that are
                            unrelated to the Plan’s investment options (e.g., enrollment in the
                            Plan, any Plan loan feature(s), Plan distributions/withdrawals and/or
                            designations of beneficiaries) (“Plan Administration”); and
                            (iii) account statements of each Plaintiff, as well as documents
                            provided to the Plaintiffs regarding the Plan’s investment options;

                     b.     The second tier documents, a substantial portion of which were
                            produced by October 15, 2019, include (i) the purchase agreement
                            between General Electric Asset Management, Inc. (“GEAM”) and
                            State Street, as well as all related exhibits and schedules; (ii) Form
                            ADVs, filed with the SEC by GEAM; (iii) non-duplicative
                            templates or samples of each communications with all Plan
                            participants (i.e., not individualized confirmation statements or the
                            like) regarding matters pertaining to the Plan’s investment options,
                            expenses and administration thereof, as well as fiduciary
                            responsibilities regarding those investment options, but not
                            communications pertaining to Plan Administration that are
                            unrelated to the Plan’s investment options; (iv) documents
                            establishing and describing the duties and responsibilities of the
                            GEAM, the BPIC, and the Fund Trustees and the Pension Board; (v)
                            organizational charts (if any), and other documents that describe the
                            organization of GE and GEAM with respect to (1) the management
                            and oversight of the Plan and Plan Administration and (2) the sale
                            of GEAM to State Street; (vi) all investment policy statements for
                            the Plan; (vii) every Schedule C of the Plan’s Form 5500 for every
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                             Plan-year since 2011; (viii) all trust agreements for the Plan; (ix) all
                             Summary Plan Descriptions and amendments thereto for the Plan,
                             (x) all agreements with Plan service providers; and (xi) the minutes
                             of the meetings of the Fund Trustees and the GE Board of Directors,
                             as well as any materials pertaining to Committee business or ERISA
                             fiduciary duties as related to the Plan, or relating to the sale of
                             GEAM, provided to all of the members of those entities in
                             connection with such meetings, including reports provided by any
                             Plan service providers; provided that minutes and materials
                             regarding the GE Board of Directors and the Fund Trustees shall be
                             limited to matters relating to the Plan, including, without limitation,
                             expenses, selection of investment options, and fiduciary
                             responsibilities, but not matters relating to Plan Administration that
                             are unrelated to the Plan’s investment options.

                      c.     The final tier documents, which shall be produced by December 18,
                             2019, shall include documents responsive to Plaintiffs’ First
                             Request not previously produced by Defendants, except for
                             documents described in Paragraph II.A.1.d. below.

                      d.     The parties are in the process of negotiating the production of ESI,
                             including emails. Plaintiffs believe that defendants should be
                             substantially completed with their production, including emails and
                             other ESI, by January 28, 2020 for half of the document custodians
                             whom Plaintiffs have prioritized, and by March 15, 2020 for the
                             remaining document custodians. Defendants believe it is premature
                             to select substantial completion dates at this time given that the
                             parties have not negotiated an agreed-upon list of custodians and
                             search terms, and therefore Defendants do not have any estimate of
                             how many documents would need to be reviewed for responsiveness
                             and privilege. The parties will make a good faith effort to work
                             cooperatively and attempt to agree upon a substantial completion
                             date for the production of documents, including ESI, as soon as
                             practicable.

                 2.   Fact discovery shall be completed on or before December 18, 2020;

                 3.   Except as specifically otherwise provided, the Parties do not believe that
                      discovery should be conducted in phases or limited to or focused on certain
                      issues, or on certain sources before others, or on certain discovery methods
                      authorized by the Federal and/or Local Rules.

                 4.   The Parties propose that the Court limit the use and number of discovery
                      procedures as follows, subject to any party’s right to seek modification
                      thereof for good cause shown:


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                      a.     No more than a total of thirty-five (35) interrogatories, including
                             contention interrogatories counted in accordance with Rule 33(a),
                             shall be served by each side.

                      b.     No more than one hundred (100) document requests shall be served
                             by each side. Plaintiffs have served their first set of document
                             requests and Defendants have served written responses. The Parties
                             understand that objections to document requests must meet the
                             requirements of Rule 34(b)(2)(B).

                      c.     No more than thirty-five (35) requests for admission shall be served
                             by each side.

                 5.   The parties agree that Plaintiff may collectively take thirty (30) depositions,
                      excluding expert witness depositions, and that Defendants may take fifteen
                      (15) depositions. Both sides respectively reserve the right to apply to the
                      Court for additional depositions. The Parties intend to confer as how to
                      most efficiently depose the persons and entities that they each may
                      respectively notice for deposition.

                 6.   The Parties have agreed upon the following discovery procedures: (a) The
                      Parties shall cooperate in the scheduling of depositions. In any event, each
                      side will make their best efforts to provide at least thirty (30) days’ notice
                      for all depositions, except when circumstances reasonably require a shorter
                      notice period; (b) e-mail service of discovery notices shall constitute
                      effective service of discovery requests, discovery responses, and all other
                      documents in the action.

                 7.   Other discovery issues. Privilege log: Plaintiffs and Defendants shall serve
                      a privilege log within 30 days after the date of each of their respective
                      document productions.

                      Expert communications: All communications between a Party and that
                      Party’s expert shall be privileged.

                 8.   Discovery Disputes And Court Resolution Thereof:

                      The Parties agree that before the making of any motion to address discovery
                      issues, they will meet and confer as required by governing Federal and/or
                      Local Rules.

                 9.   Case Budget and ADR (Pursuant to Local Rule 16.1 (D)(3)):

                      Plaintiffs and Defendants are agreeable to court-supervised or private
                      alternative dispute resolution. At this time, both sides believe that ADR
                      would be most appropriate after the conclusion of fact and expert discovery.

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                 10.   Discovery of Electronically Stored Information. The parties will discuss
                       issues about preservation, disclosure, production, or discovery of
                       electronically stored information, as required by Fed. R. Civ. P. 26(f), and
                       will meet and confer regarding a protocol for the production of
                       electronically stored information.

        B.       Expert Discovery

                 1.    (In class action cases, indicate separately whether pre-class certification
                       experts will be needed and provide the following information for disclosure
                       as to such experts as well.)

                       a.     Plaintiff will disclose the identities of any expert witnesses they
                              intend to offer at the class certification stage and provide written
                              reports and other disclosures required under Fed. R. Civ. P.
                              26(a)(2)(A)(B) and (C) at the time of filing of Plaintiffs’ Motion for
                              Class Certification.

                       b.     Depending on Plaintiffs’ arguments at class certification and/or any
                              expert witnesses offered by Plaintiffs at class certification,
                              Defendants may utilize expert witnesses at class certification as
                              well, and will identify any such experts and provide Plaintiffs with
                              their reports and other disclosures required under Fed. R. Civ. P.
                              26(a)(2)(A)(B) and (C) at the time Defendants file their Opposition
                              to Plaintiffs Motion for Class Certification.

                       c.     Each side shall be entitled to take one deposition of each expert
                              offered in support or opposition to class certification, unless that
                              expert issues a new or modified report in which case the expert may
                              be deposed regarding any new opinions or other matters in that new
                              or modified report.

                 2.    The Parties anticipate that they will require expert witnesses at trial, and
                       propose that the Court establish the following plan for expert discovery:

                       a.     Plaintiffs currently anticipate calling up to four (4) experts at trial,
                              but reserve the right to increase the number of experts depending
                              upon what discovery may reveal. Defendants anticipate calling up
                              to four (4) experts at trial, but reserve the right to increase the
                              number of experts. Each side (not each Party) may take one
                              deposition of each trial expert and one deposition of any class
                              certification expert, unless such expert offers new or modified
                              opinions, in which case the expert may be deposed with regard to
                              any new or modified opinions or other matters in that new or
                              modified report.


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                       b.      Disclosure of the identities of expert witnesses under Rule
                               26(a)(2)(A) and the full disclosures required by Rule 26(a)(2)(B)
                               (accompanied by the written report prepared and signed by the
                               expert witness) and the full disclosures required by Rule
                               26(a)(2)(C), shall be made as follows:

                                  i.   Plaintiffs shall identify their trial experts and serve the
                                       disclosures required by Rules 26(a)(2)(B) and (C) by
                                       January 15, 2021.

                                 ii.   Defendants shall identify their trial experts and serve the
                                       disclosures required by Rules 26(a)(2)(B) and (C) by
                                       March 31, 2021.

                                iii.   The respective Parties may apply to the Court for leave to
                                       identify any rebuttal trial experts and serve the disclosures
                                       required by Rules 26(a)(2)(A)(B) and (C) by thirty days after
                                       the report to which such rebuttal is addressed, provided that
                                       the Parties first confer about such proposed rebuttal in
                                       accordance with the Local Rules of Civil Procedure.

                       c.      Expert discovery, including depositions, shall be completed by
                               August 2, 2021, or sixty (60) days after submission of the last
                               rebuttal report, whichever is later.

III.    NON-DISPOSITIVE MOTION DEADLINES

        The Parties propose the following deadlines for filing non-dispositive motions:

                 1.    Except as Ordered by the Court for good cause shown, all motions that seek
                       to amend the pleadings or to add parties must be filed and served no later
                       than the later of January 1, 2020, or ninety (90) days after Defendants have
                       completed production of documents in response to Plaintiffs’ First Request.

                 2.    Except as provided in paragraphs 3, 4, and 5 below, all non-dispositive
                       motions and supporting documents shall be filed and served within 14 days
                       following the close of fact discovery.

                 3.    Except for good cause shown, all non-dispositive motions and supporting
                       documents that relate to fact discovery shall be filed no later than thirty days
                       before the close of fact discovery.

                 4.    Except for good cause shown, all non-dispositive motions (other than
                       Daubert motions) and supporting documents that relate to expert discovery
                       shall be filed no later than fifteen (15) days before the close of expert
                       discovery.

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                 5.   Motions in limine shall be filed no later than twenty-one (21) days prior to
                      the opening date of any trial in this matter.

IV.     DISPOSITIVE MOTION DEADLINES

       The Parties believe that expert discovery must be completed before dispositive motions are
filed. The Parties recommend that all dispositive motions, and any motions under Daubert v.
Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), be filed and served within forty-five
(45) days after the close of expert discovery.

V.      STATUS CONFERENCE DATES:

        To be set by Court: __________________________________________________



DATED: November 5, 2019                      Respectfully submitted,



                                                           /s/ James O. Fleckner
                                                             James O. Fleckner

                                             James O. Fleckner (BBO# 641494)
                                             Alison V. Douglass (BBO# 646861)
                                             GOODWIN PROCTER LLP
                                             100 Northern Avenue
                                             Boston, MA 02210
                                             Telephone: 617/570-1000
                                             617/523-1231 (fax)
                                             JFleckner@goodwinlaw.com
                                             ADouglass@goodwinlaw.com

                                             Counsel for Defendants General Electric
                                             Company and GE Asset Management
                                             Incorporated




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                                                     /s/ Jason M. Leviton
                                                       Jason M. Leviton

                                       Jason M. Leviton
                                       BLOCK & LEVITON LLP
                                       155 Federal Street, Suite 400
                                       Boston, MA 02110
                                       Telephone: 617/398-5600
                                       617/507-6020 (fax)
                                       jason@blockesq.com

                                       R. Joseph Barton
                                       BLOCK & LEVITON LLP
                                       1735 20th Street NW
                                       Washington, DC 20009
                                       Telephone: 202/734-7046
                                       202/734-7046 (fax)
                                       Jbarton@blockesq.com

                                       Liaison Counsel for Plaintiffs

                                       Mark C. Gardy (admitted pro hac vice)
                                       Orin Kurtz (admitted pro hac vice)
                                       GARDY & NOTIS, LLP
                                       Tower 56
                                       126 East 56th Street, 8th Floor
                                       New York, NY 10022
                                       Telephone: 212/905-0509
                                       212/905-0508 (fax)
                                       mgardy@gardylaw.com
                                       okurtz@gardylaw.com

                                       Lee Squitieri (admitted pro hac vice)
                                       SQUITIERI & FEARON, LLP
                                       32 East 57th Street, 12th Floor
                                       New York, NY 10022
                                       Telephone: 212/421-6492
                                       212/421-6553 (fax)
                                       lee@sfclasslaw.com




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                                       Evan J. Kaufman (admitted pro hac vice)
                                       ROBBINS GELLER RUDMAN
                                         & DOWD LLP
                                       58 South Service Road, Suite 200
                                       Melville, NY 11747
                                       Telephone: 631/367-7100
                                       631/367-1173 (fax)
                                       ekaufman@rgrdlaw.com

                                       Charles H. Field (admitted pro hac vice)
                                       SANFORD HEISLER SHARP LLP
                                       655 West Broadway, Suite 1700
                                       San Diego, CA 92101
                                       Telephone: 619/577-4252
                                       619/577-4250 (fax)
                                       cfield@sanfordheisler.com

                                       Andrew Miller (BBO #682496)
                                       SANFORD HEISLER SHARP LLP
                                       700 Pennsylvania Avenue SE, Suite 300
                                       Washington, DC 20003
                                       Telephone: 202/499-5200
                                       202/499-5199 (fax)
                                       amiller@sanfordheisler.com

                                       Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE

        I hereby certify under penalty of perjury that on November 5, 2019, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List,

and I hereby certify that I caused the mailing of the foregoing via the United States Postal Service

to the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                                /s/ Evan J. Kaufman
                                                                  Evan J. Kaufman

                                                  ROBBINS GELLER RUDMAN
                                                    & DOWD LLP
                                                  58 South Service Road, Suite 200
                                                  Melville, NY 11747
                                                  Telephone: 631/367-7100
                                                  631/367-1173 (fax)
                                                  ekaufman@rgrdlaw.com




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